                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
SHARONELL FULTON, et al.,            :
                                     :         No. 2:18-cv-02075
            Plaintiffs,              :
                                     :
      v.                             :
                                     :
CITY OF PHILADELPHIA, et al.,        :
                                     :
            Defendants.              :
____________________________________:

     PROPOSED INTERVENORS’ MEMORANDUM OF LAW, OR, IN THE
ALTERNATIVE, AMICUS BRIEF, IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
  A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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                                         INTRODUCTION

       Following a news report in which Catholic Social Services (“CSS”) and another

government-contracted foster care agency confirmed that they would not license prospective

foster families headed by same-sex couples, regardless of the family’s qualifications or the needs

of the children in the agencies’ care, the City of Philadelphia (“City”) advised these agencies that

they were in violation of the terms of their contracts and suspended referrals of children to these

agencies until they agreed to abide by the non-discrimination requirements of their contracts.

One of those agencies has agreed in principle to abide by the terms of its contract and comply

with the Fair Practices Ordinance and is negotiating a contract with the City that would allow

Philadelphia Department of Human Services (“DHS”) to resume referrals to the agency. ECF

20-6, Declaration of Cynthia F. Figueroa (“Figueroa Decl.”) ¶ 38. CSS, instead, asks this Court

for the extraordinary relief of a preliminary injunction to force the City to give CSS a taxpayer-

funded government contract to find families for children in the public child welfare system, but

to allow CSS to turn away the families who don’t meet its religious test. Intervenors Support

Center for Child Advocates (“Child Advocates”) and Philadelphia Family Pride (“PFP”) urge the

Court to deny Plaintiffs’ motion because Plaintiffs cannot show a likelihood of success on their

claims under the Constitution and Pennsylvania’s Religious Freedom Act, because the requested

relief would itself violate the Constitution, because the balance of the equities does not support

such relief, and because the requested relief is not in the public interest.1




1
 “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on the
merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The “failure to establish any element . . .
renders a preliminary injunction inappropriate.” NutraSweet Co. v. Vit-Mar Enters., Inc., 176
F.3d 151, 153 (3d Cir. 1999). The movant bears the burden of showing that these four factors
                                                   1
        Plaintiffs cannot demonstrate a likelihood of prevailing on their claims under the Free

Exercise Clause or Pennsylvania’s Religious Freedom Protection Act. Plaintiffs contend that the

City’s decision to enforce the terms of its contracts is invalid because the City was motivated by

hostility toward CSS’s religious position on same-sex marriage, citing to Masterpiece Cakeshop

Ltd. v. Colo. Civil Rights Comm’n, No. 16-111, 584 U.S. ___, 2018 WL 2465172 (June 4, 2018).

But there is no basis in fact to attribute the City’s actions to religious hostility, rather than its

interest in treating all families equally and ensuring the greatest variety of potential foster homes.

More fundamentally, the right to free exercise of religion without interference by the government

does not allow CSS to unilaterally alter the terms under which it offers the government services

it has agreed to provide. Finally, if the City were required to satisfy strict scrutiny to require its

contractors to adhere to City non-discrimination policies, the City’s interest in preventing

discrimination would meet that test here, as it has in countless other contexts. Plaintiffs’

“compelled speech” claims fare no better, because the City’s requirement that contract agencies

issue certifications and home studies on a non-discriminatory basis does not compel private

speech; rather, it regulates activity that is clearly within the scope of the contract to provide

government services.

         An additional reason that Plaintiffs cannot demonstrate a likelihood of success is the

fact that the relief they request would violate the Constitution. The Establishment Clause

prohibits the use of religious eligibility criteria in the provision of a government service, whether

that service is provided by government employees or organizations contracted by the government

for that purpose. DHS could not screen out prospective foster families based on failure to meet a




weigh in favor of granting the injunction. See Opticians Ass’n of Am. v. Independent Opticians
of Am., 920 F.2d 187, 192 (3d Cir. 1990).
                                                    2
religious test; therefore, the agencies it hires and pays with tax dollars cannot use such a screen.

The Establishment Clause also prohibits the government from funding religious activity. And it

bars the government from privileging religion to the detriment of third parties. Allowing

contracted agencies that provide public child welfare services to turn away same-sex couples

based on religious objections would also violate the Equal Protection Clause. It would subject

same-sex couples to unequal treatment by denying them the same options for fostering and

adopting that are afforded to heterosexual couples and exposing them to the risk of

discrimination in the process, while furthering no legitimate government interest, let alone a

compelling one.

       The harm that would result from Plaintiffs’ requested injunction—the harms that bring

Intervenors to this Court—is the final reason why Plaintiffs’ motion should be denied. Allowing

discrimination by agencies that have religious objections to same-sex couples would harm the at-

risk children that the foster care system is meant to protect by reducing the number of qualified

families available to foster. In addition to the stigma that same-sex couples who wish to foster

would suffer if CSS and other like-minded agencies were allowed to turn them away, the

recognition of a “right” to pick and choose potential foster parents based on religious standards

would create additional barriers to fostering children at a time when Philadelphia’s children

cannot afford to lose any qualified families. For these reasons, neither the balance of equities nor

the public interest favor the requested relief.




                                                  3
                                           ARGUMENT

   I.      Plaintiffs Have Failed to Demonstrate a Likelihood of Prevailing on Any of the
           Claims Upon Which They Moved for a Temporary Restraining Order and
           Preliminary Injunction.

        A. Plaintiffs are unlikely to prevail on their claims based on the free exercise of religion.

        Plaintiffs claim that the City’s suspension of referrals to CSS for failure to comply with

its non-discrimination requirement violate the Free Exercise Clause of the Constitution and the

Pennsylvania Religious Freedom Act. These claims are meritless. There is no basis for

Plaintiffs’ assertion that the City’s action was based on hostility toward CSS’s religious beliefs

or selective enforcement against religiously motivated contract violations. Nor is there any

substantial burden on Plaintiffs’ free exercise rights because there is no right to government

contracts that conform to one’s religious beliefs. Even if there were any burden on Plaintiffs’

free exercise rights, the City has a compelling interest in enforcing its requirement of non-

discriminatory treatment of prospective foster parents.

        1. Plaintiffs have not shown that the City’s enforcement of its non-discrimination
           requirement targeted CSS based on hostility toward its religious beliefs or constituted
           selective enforcement against religiously motivated conduct.

           There is no showing that enforcement was motivated by hostility toward religion.

        Plaintiffs contend that the City’s decision to enforce its non-discrimination requirement

against CSS and, thus, suspend referrals of foster cases, was motivated by hostility toward CSS’s

and the individual Plaintiffs’ faith, in violation of the Free Exercise Clause, citing Masterpiece

Cakeshop, 2018 WL 2465172. However, they offer no evidence that supports this accusation.

There is nothing hostile to religion about the statement that “we cannot use taxpayer dollars to

fund organizations that discriminate against people because of their sexual orientation or same-

sex marriage status. . . . It’s just not right.” CSS Br. at 19. If mere disagreement with permitting

government funding of discrimination constituted impermissible hostility toward religion, that

                                                  4
would preclude any enforcement of non-discrimination requirements against government

contractors who refused to comply based on religious objections. Masterpiece certainly does not

stand for so broad a proposition.

       Nor does the City’s statement that “[w]e would not allow such discrimination against, for

example, Catholic couples or ‘mixed-race’ couples, and we cannot allow it with respect to same-

sex couples, either” (City Br. at 19, quoting Ex. 1(F)) constitute hostility toward religion.

Contrary to Plaintiffs’ suggestion, Masterpiece does not mean that referencing other forms of

discrimination, including race discrimination, in a discussion of religiously motivated sexual

orientation discrimination constitutes impermissible hostility toward religion. Indeed, in

Masterpiece, in discussing religiously motivated sexual orientation discrimination by a business

owner, the Court cited a race discrimination case in support of the proposition that religious

objections generally “do not allow business owners and other actors in the economy and in

society to deny protected persons equal access to goods and services under a neutral and

generally applicable public accommodations law.” Id. at *7 (citing Newman v. Piggie Park

Enterprises, Inc., 390 U.S. 400 (1968)).2

       Finally, comments from the mayor in past years expressing disagreement with the

Archdiocese on other extraneous issues provide no basis to infer that the City enforced its

contract with CSS out of hostility toward CSS’s faith. Indeed, the City maintained its contracts




2
  Plaintiffs’ characterization of this statement from the City as “comparing CSS’s religious
beliefs to racist discrimination” (Br. at 19), and suggestion that any such comparison is
inappropriate, seems to be an acknowledgement that it would be improper to allow religiously
affiliated agencies to exclude prospective families based on a religious objection to interracial
couples. Yet they seem to be suggesting that the City should grant preferential treatment to
CSS’s religious beliefs by permitting religiously-based discrimination based on sexual
orientation. Of course, the Establishment Clause prohibits the government from preferring some
religious beliefs over others. See, e.g. Larson v. Valente, 456 U.S. 228, 244 (1982).
                                                  5
with CSS for years after the mayor’s comments. Plaintiffs’ attempt to tie the City’s decision to

enforce its contracts to these past statements is, thus, illogical. And Masterpiece does not

support such a leap. In that case, the Court found that statements made by commissioners in the

course of adjudicating a complaint against a business evidenced hostility toward the business

owner’s faith that could have affected the neutrality of the proceedings. Masterpiece Cakeshop,

2018 WL 2465172, at *12-13. The Court in no way suggested that if Colorado officials ever

expressed disagreement with the leadership of the business owner’s faith community, then

enforcement of state laws against the business or organizations affiliated with the owner’s faith

would be forever assumed to be based on hostility toward the faith.

       Plaintiffs have alleged no facts that raise even an inference that the City’s enforcement of

its non-discrimination requirement was based on anything other than its desire to enforce its

contracts and ensure that contract agencies welcome all qualified families to best meet the needs

of children.

           There is no showing of selective enforcement against religiously motivated
           discrimination.

       Plaintiffs attempt to shoehorn this case into Church of Lukumi Babalu Aye, Inc. v. City of

Hialeah, 508 U.S. 520 (1993), asserting that the City grants secular exemptions from a

government policy while denying religious exemptions and, thus, strict scrutiny should apply.

The City says it does not allow any exemptions from its non-discrimination requirements, see

The City of Philadelphia’s Memorandum of Law in Opposition to Plaintiffs’ Motion for

Temporary Restraining Order and Preliminary Injunction (“City Br.”), at 17, and Plaintiffs offer

no evidence to the contrary. Plaintiffs instead point to the fact that agencies are permitted to

refer families to other agencies that have special expertise in working with particular classes of

youth. These are not exemptions from the City’s non-discrimination requirement. The City does


                                                 6
not prohibit agencies from making referrals to other agencies; it prohibits agencies from

discriminating against families by refusing to accept them because of their race, religion, sexual

orientation and other enumerated characteristics.3 This case simply does not involve a

preference for secular exemptions over religious-based exemptions as condemned in Lukumi.

       And contrary to Plaintiffs’ suggestion, the fact that the City has not suspended referrals to

all religious groups that operate foster care agencies does not constitute a preference for some

religious groups over others. The City suspended referrals to agencies that violate its non-

discrimination requirement, regardless of their religious affiliation or beliefs.

       2. The City’s enforcement of its non-discrimination requirement does not substantially
          burden Plaintiffs’ religious exercise.

       The City of Philadelphia does not substantially burden plaintiffs’ free exercise of religion

by requiring that CSS—like all other contracted agencies—comply with DHS’s contract

requirements that bar discrimination against prospective families based on sexual orientation.

       CSS is not required to enter into contracts with the City to provide government services

in exchange for taxpayer dollars. Thus, it is under no compulsion to engage in any conduct that

it deems to be in conflict with its religious beliefs. See Agency for Int’l Dev. v. Open Soc’y Int’l,

Inc., 570 U.S. 205, 214 (2013) (“As a general matter, if a party objects to a condition on the

receipt of [government] funding, its recourse is to decline the funds.”).




3
 Ward v. Polite, 667 F.3d 727 (6th Cir. 2012), cited by Plaintiffs, illustrates the problem with
their argument. In Ward, the court held that a university violated a counseling student’s free
exercise rights by prohibiting her from referring gay patients to other counselors when such
counseling would conflict with her religious beliefs. The court’s decision was based on the fact
that although the university relied on the ethics code, the code permits other values-based
referrals; thus, this constituted an “exception-ridden policy” that is “the antithesis of a neutral
and generally applicable policy.” Id. at 739-40. Here, there is no allegation that the city grants
any secular-based exemptions from its non-discrimination requirement.
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       Moreover, the right to free exercise does not entitle a religious organization to accept

government contracts to perform government services, and then unilaterally alter the services

provided to conform to its religious beliefs. The right to free exercise does not include the right

to government funding of one’s religious exercise. Rust v. Sullivan, 500 U.S. 173, 193 (1991)

(“A refusal to fund protected activity, without more, cannot be equated with the imposition of a

‘penalty’ on that activity.”) (citing Harris v. McRae, 448 U.S. 297, 317, n.19 (1980)); Id. (“[A]

legislature’s decision not to subsidize the exercise of a fundamental right does not infringe the

right.”) (citing Regan v. Taxation With Representation of Wash., 461 U.S. 540, 549 (1983)).

       The fact that CSS’s desire to violate the City’s non-discrimination requirement is based

on its religious beliefs does not excuse it from compliance any more than a religious belief in

favor of corporal punishment would excuse an agency from complying with state child abuse

laws. When a private agency chooses to contract with the government to provide a government

service, it must follow the same rules applied to all other contractors.

       Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 U.S. 2012 (2017), does not

support Plaintiffs’ extraordinary claim. This case establishes that the government cannot

disqualify religious organizations from a public benefit because of their religious identity. Id. at

2021. A government contract to perform a government service is not a “public benefit” (Id. at

2024 n.3).4 But even if it could be considered a public benefit, the City has not denied CSS a

contract or referrals of children because it is Catholic or because it holds particular religious

beliefs. It suspended referrals because of its refusal to comply with its non-discrimination




4
 See Teen Ranch v. Udow, 389 F. Supp. 2d 827, 840 (W.D. Mich. 2005), aff’d, 479 F.3d 403
(6th Cir. 2006) (“Unlike unemployment benefits or the ability to hold office, a state contract for
youth residential services is not a public benefit.”). For this reason, Sherbert v. Verner, 374 U.S.
398 (1963), which involves unemployment benefits, offers no support to Plaintiffs.
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requirement. Trinity Lutheran in no way suggests that a contracting agency’s religious beliefs

give it the right to dictate how it provides contracted government services.5

       3. The City has a compelling interest in enforcing its non-discrimination requirement.

       Even if the City’s enforcement of its contract’s non-discrimination requirements could be

deemed to burden Plaintiffs’ exercise of religion, the City has a compelling interest in

prohibiting its contract agencies from turning away prospective families based on religious

criteria that have no bearing on their ability to care for a child. It also has a compelling interest

in prohibiting its contract agencies from discriminating against classes of prospective foster

families based on characteristics such as race, religion and sexual orientation to ensure that

families from excluded groups are not subjected to discrimination or deterred from coming

forward to become foster parents for children in need. See Roberts v. U.S. Jaycees, 468 U.S.

609, 623 (1986) (compelling government interest in non-discrimination laws). Just as it would

compromise the City’s interest in finding families for children to allow contract agencies to turn

away any other group covered by its non-discrimination requirement, it compromises this

interest when an agency will not accept families headed by same-sex couples.

       There is no less restrictive means of achieving the City’s interest in ensuring that contract

agencies welcome all potential prospective foster parents than barring discrimination. Plaintiffs



5
 Plaintiffs’ reliance on Holt v. Hobbs, 574 U.S. ___, 135 S. Ct. 853 (2015), and Chosen 300
Ministries v. City of Philadelphia, No. 12-3159, 2012 WL 3235317 (E.D. Pa. Aug. 9, 2012), is
also misplaced because neither case involves government-contracted government services. In
Holt, the Court struck down a prison grooming regulation barring beards after holding that the
regulation substantially burdened prisoners’ exercise of religion. In Chosen 300 Ministries, the
court held that a city ban on distributing food to the homeless in certain locations substantially
burdened the religion of groups called by their faith to feed the homeless. Id. at *56-57. Those
ministries were not operating under government contracts; they were independently engaging in
food distribution. Had the ministries’ food distribution program been a government service
provided under city contract, the Free Exercise Clause would not have given them the right to
dictate the operation of the program.
                                                   9
claim that a less restrictive alternative is to allow CSS to “refer” same-sex couples to other

agencies. Br, at 17. Using the term “referral” doesn’t change the fact that CSS is not accepting

same-sex couples. This constitutes discrimination in violation of the City’s contract just as it

would constitute discrimination for an agency to turn away non-Christians or interracial couples

and call it a “referral” to another agency.

       B. Plaintiffs are unlikely to prevail on their Free Speech claims.

       Plaintiffs contend that the City is compelling CSS to engage in speech by barring it from

discriminating against same-sex couples. They assert that providing certifications and

endorsements of same-sex couples would constitute compelled speech in violation of their

religious beliefs about marriage. This argument fails because when a private agency provides

public services pursuant to a government contract, its services under the contract are not private

speech but rather “instances in which the government uses private speakers to transmit

information concerning the government’s own program.” Teen Ranch, 389 F. Supp. 2d at 840.

Agency for Int’l Dev. v. All. For Open Society Int’l, Inc., 570 U.S. 205 (2013), cited by Plaintiffs,

expressly distinguished between “conditions that define the limits of the government spending

program—those that specify the activities [the government] wants to subsidize—and conditions

that seek to leverage funding to regulate speech outside the contours of the program itself.” 570

U.S. at 214–15. Here, any requirement to issue certifications or home studies on a non-

discriminatory basis would go to the heart of the services under contract with the City and would

not regulate the speech of foster care agencies outside of the performance of the contracted-for

services.6


6
 Legal Services Corp. v. Velazquez, 531 U.S. 533 (2001), does not support Plaintiffs’ argument
because that case involved a contract for lawyers that was “designed to facilitate private speech”
as opposed to a government message. Home studies and family certifications of prospective
foster families to care for children in the public child welfare system are not private speech.
                                                 10
         Plaintiffs argue that certifications and home studies constitute private speech because,

they say, such activity is not expressly funded under the contract, which they say pays CSS on a

per diem basis for children placed in foster care. Regardless of the payment arrangements for the

contract, it is clear that without the contract, CSS could not be certifying foster parents; this

activity is part of its work as a contracted foster care provider.

   II.      If the City Were to Allow CSS to Discriminate Against Prospective Families
            Headed by Same-Sex Couples, It Would Violate the Establishment Clause and
            the Equal Protection Clause.

         Plaintiffs’ claims fail for all of the reasons discussed above. They also fail because the

policy they are seeking—permission to use religious screening standards in the public child

welfare system to exclude same-sex couples—would violate the Establishment Clause and Equal

Protection rights of Proposed Intervenors and the children and families they represent.

         A. Establishment Clause

         Allowing a government-contracted, taxpayer-funded foster care agency to use religious

criteria to exclude prospective foster parents for children in government custody would violate

the Establishment Clause. It would constitute the endorsement and promotion of religion, see

Lemon v. Kurtzman, 403 U.S. 602 (1971), for at least three reasons: (1) the State may not

delegate a public function and allow it to be performed using religious standards; (2) the

government may not fund religious activity; and (3) the government may not privilege religion to

the detriment of third parties.

            Delegation of a government function to be performed using religious criteria would
            violate the Establishment Clause.

         The Establishment Clause forbids the government from delegating a government function

to a religious organization and then allowing that government function to be performed using

religious criteria. In Larkin v. Grendel’s Den, 459 U.S. 116 (1982), the Supreme Court


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invalidated a municipal ordinance that gave churches discretion to veto a liquor license

application for any premises located within 500 feet of a church. The ordinance at issue

“delegate[d] to private, nongovernmental entities . . . a power ordinarily vested in agencies of

government.” 459 U.S. at 122. There, the Court concluded that the relevant provision merely

“could be employed for explicitly religious goals.” Id. at 125 (emphasis added). The Court

invalidated the ordinance, reasoning that vesting governmental power in a religious organization

to be exercised pursuant to religious strictures presents the “danger of political oppression

through a union of civil and ecclesiastical control” that motivated the Framers to draft the

Establishment Clause. Larkin, 459 U.S. at 127 n.10. If the City delegated public child welfare

services to agencies with permission to use religious eligibility criteria, it would violate the

Establishment Clause principle that “civil power must be exercised in a manner neutral to

religion.” Bd. of Educ. of Kiryas Joel Village Sch. Dist. v. Grumet, 512 U.S. 687, 704 (1994)

(religious community’s control over public education policy violated Establishment Clause).7

           Allowing government-funded agencies to use religious criteria in screening
           prospective families would constitute impermissible government funding of religious
           activity.

       The Supreme Court has made clear that the Establishment Clause prohibits recipients of

government funds from using those funds for religious purposes. While mere participation of

faith based organizations in government funded programs does not violate the Establishment

Clause, when such organizations do receive government funds, they may not use those funds to

advance religion. See, e.g. Bowen v. Kendrick, 487 U.S. 589, 608-609 (1988); Teen Ranch, 389



7
 See also Doe v. Porter, 370 F.3d 558, 564 (6th Cir. 2004) (school board violated Establishment
Clause by “ced[ing] its supervisory authority over [certain] classes to Bryan College, which
requires its students and faculty to subscribe to a sectarian statement of belief”); ACLU of Mass.
v. Sebelius, 821 F. Supp. 2d 474, 486-88 (D. Mass. 2012) (permitting religious organization to
disburse taxpayer-funded services according to religious criteria violated Establishment Clause).
                                                  12
F. Supp. 2d 827. The Supreme Court recognized that religious discrimination in the provision of

government-funded services is one form of impermissible advancement of religion with

government funds. Bowen, 487 U.S. at 609.

             Allowing government-contracted foster care agencies to use religious criteria in
             screening prospective families would violate the Establishment Clause by privileging
             religious exercise to the detriment of others.

          The Establishment Clause forbids “accommodations” of religion that impose substantial

burdens on third parties. In Estate of Thornton v. Caldor, Inc., the Supreme Court struck down a

statute requiring that “those who observe a Sabbath . . . must be relieved of the duty to work on

that day, no matter what burden or inconvenience this imposes on the employer or fellow

workers.” 472 U.S. 703, 708-09 (1985). The Court rejected the notion that the government can

accommodate religion even when it causes harm to third parties.8

          Allowing government-contracted child placing agencies to use religious eligibility

criteria when performing public child welfare services runs afoul of the Establishment Clause

because it imposes a significant burden on children, who lose out on qualified families, and the

families who are turned away.

          For all of the above reasons, if the City were to agree to allow contracted agencies to

exclude prospective families based on religious criteria, it would violate the Establishment

Clause.




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  See also Kiryas Joel, 512 U.S. at 722 (Kennedy, J., concurring) (“[A] religious accommodation
demands careful scrutiny to ensure that it does not so burden nonadherents . . . as to become an
establishment.”); Tex. Monthly, Inc. v. Bullock, 489 U.S. 1, 15, 18 n.8 (1989) (plurality opinion)
(invalidating tax exemption for religious periodicals that “burden[e]d nonbeneficiaries
markedly”); Cutter v. Wilkinson, 544 U.S. 709, 720 (2005) (“[C]ourts must take adequate
account of the burdens a requested accommodation may impose on nonbeneficiaries.”).
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       B. Equal Protection Clause

       The Equal Protection Clause requires the government to treat all similarly situated

persons alike. City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). At a

minimum, this prohibits the government from making “distinctions between individuals based

solely on differences that are irrelevant to a legitimate governmental objective.” Lehr v.

Robertson, 463 U.S. 248, 265 (1983). The Equal Protection Clause also prohibits the

government from deferring to the disapproval of others. See Palmore v. Sidoti, 466 U.S. 429

(1984) (in reversing child custody order transferring custody away from mother because of social

disapproval of her interracial marriage as violation of equal protection); Cleburne Living Center

473 U.S. at 439 (in striking down special zoning restriction on homes for developmentally

disabled adults, court rejected asserted interest in avoiding negative reaction from community

members).

       If the City were to allow its contract agencies to turn away same-sex couples based on

religious objections to such families, that would violate the Equal Protection Clause. As an

initial matter, such a policy would have to be evaluated under heightened scrutiny because it

would subject families to unequal treatment based on sexual orientation. See, e.g., Windsor v.

United States, 699 F.3d 169, 185 (2d Cir. 2012), aff’d on other grounds, 570 U.S. 744 (2013);

Hively v. Ivy Tech Community College of Indiana, 853 F. 3d 339 (7th Cir. 2017); Whitewood v.

Wolf, 992 F. Supp. 2d 410 (M.D. Pa. 2014). But a policy of permitting discrimination against

same-sex couples based on agency religious objection would fail any level of equal protection

scrutiny.

       First, as the Supreme Court recognized in Obergefell v. Hodges, the government cannot

“deny gays and lesbians [the] many rights and responsibilities intertwined with marriage”—

expressly including “adoption rights.” 576 U.S. ___, 135 S. Ct. 2584, 2601, 2606 (2015).
                                                14
Allowing contract agencies to exclude same-sex couples from fostering would deny married

same-sex couples “all the benefits afforded to opposite sex couples” with respect to the related

area of foster care. Id. at 2604. See Campaign for Southern Equality v. Mississippi Department

of Human Services, 175 F. Supp. 3d 691, 710 (S.D. Miss. 2016) (enjoining state’s practice of

excluding same-sex couples from adopting out of the foster care system because it “interfer[ed]

with the right to marry” and thereby “violate[d] the Equal Protection Clause.”).9

           Moreover, allowing contract agencies to cast aside a class of families based on reasons

unrelated to their ability to care for a child would advance no legitimate child welfare interest.

Indeed, it would undermine the City’s acknowledged need for more families to meet the needs of

children in foster care.

    III.      Neither the Balance of the Equities Nor the Public Interest Favor Granting the
              Relief Sought.

           Proposed intervenors do not have knowledge of facts regarding Plaintiffs’ alleged

irreparable harm stemming from their allegations related to the well-being of particular children

in DHS custody and, thus, do not address those alleged harms. However they have the

experience to speak to harms to third parties—specifically children and prospective foster

families—that would result if the injunctive relief sought by Plaintiffs is granted.

           As is explained in the Declaration of Frank Cervone in support of the Motion to

Intervene, the relief requested by CSS conflicts with the mandate that the best interests of the

child be the paramount consideration in all decisions regarding children under the care of the



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 Courts around the country have similarly applied Obergefell to many aspects of childrearing
and parenting. See, e.g., Pavan v. Smith, 582 U.S. ___, 137 S. Ct. 2075, 2077 (2017) (both
spouses in same-sex couples must be permitted on children’s birth certificates); McLaughlin v.
Jones, 401 P.3d 492, 498 (Ariz. 2017) (presumption of parenthood for spouse of woman who
gives birth must apply equally to same-sex couples), petition for cert. filed, No. 17-878 (U.S.
Dec. 18, 2017).
                                                   15
City. ECF 27-2, Declaration of Frank P. Cervone (“Cervone Decl.”) ¶ 14. Turning away

qualified foster parents based on religious criteria conflicts with professional and accepted child

welfare practice standards that exist to protect children. Id. at ¶ 17. Moreover, because each

child’s needs are unique, meeting the best interests of a particular child requires having as large a

pool as possible of qualified, licensed foster parents to choose from to optimize the “fit” between

the child and the home. Id. at ¶ 18. And, achieving a foster care placement in the best interests

of a particular child also requires having a diverse a pool of qualified, licensed foster parents,

including LGBT parents. Id. at ¶ 19. Indeed, for some LGBT youth, having an LGBT foster

parent may be vital to the child’s wellbeing. Id. Especially given the current shortage of

qualified, licensed foster parents in Philadelphia, it is contrary to the interests of Philadelphia

foster children and, by extension, the public interest, for the City’s subcontracting agencies to

refuse to accept qualified parents for reasons unrelated to the best interests of children. Id. at ¶¶

20-22.

         The relief requested by CSS would deter some same-sex couples from becoming foster

parents, even if there remained other agencies who would work with them. As is explained in

the Declaration of Stephanie Haynes in support of the Motion to Intervene, the risk of

discrimination in the process can be intimidating to same-sex couples and would likely deter

some families from pursuing their desire to become foster parents. ECF 27-3, Declaration of

Stephanie Haynes (“Haynes Decl.”) ¶ 14. The concerns of many LGBTQ+ people about

whether or not they will be welcomed as foster parents in the system is already an impediment to

PFP’s efforts to recruit foster parents. Id. at ¶ 9. Becoming a foster parent is not a fast or simple

decision for many families. Nor is becoming a foster parent a quick or easy process. The foster

care system is highly complex, and it can be difficult to understand and navigate the



                                                  16
bureaucracy. Id. at ¶ 10. In addition to these hurdles faced by everyone considering becoming a

foster parent, same-sex couples who are considering becoming foster parents often have

additional concerns about the risk of discrimination in the foster and adoption process. These

couples are aware of discrimination against other same-sex couples in the foster care system in

the past, and many have faced discrimination in other aspects of their lives because of their

sexual orientation or relationship. Id. at ¶ 11. A ruling in favor of Plaintiffs would send the

message to PFP’s members that the City’s contractors are free to reject them as foster parents

because of religious objections to their sexual orientation and relationships. The prospect of

facing such discrimination is intimidating, and the sting of rejection from one agency could deter

some couples from taking the risk of approaching another agency. Id. at ¶¶ 13-15, 17. This

would harm children in need of foster parents and it would harm same-sex couples and their

families subject to the stigma of discrimination or the fear of facing discriminatory treatment. Id.

at ¶¶ 14, 18.

        Losing any good families would be harmful to children in the foster care system,

particularly given the DHS’s “urgent call” to recruit new foster parents. Haynes Decl. ¶ 6. In

addition, losing out on LGBTQ+ foster parents, who are well-positioned to provide supportive

homes for LGBT youth, will undermine the City’s efforts to recruit more families to serve LGBT

youth. Figueroa Decl. ¶¶ 17-18; Cervone Decl. ¶ 19.

        In addition, if Plaintiffs were to prevail, creating a system in which all agencies are open

to heterosexual couples but same-sex couples are limited to a smaller subset of agencies, it is

possible that that subset of agencies will not be well matched for all same-sex couples’

circumstances. See ECF 20-1, Declaration of Kimberly Ali (“Ali Decl.”) ¶ 27 (noting that some

agencies have special expertise, e.g. with behavioral issues). For example, Plaintiffs allege in the



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Complaint that other agencies are not able to provide the support for medically needy children

and their caregivers that is provided by CSS. Complaint ¶¶ 7-9. Yet if Plaintiffs were to prevail,

same-sex couples caring for medically needy children would not have the option of working with

this agency and accessing such support for themselves and the children in their care.

       Finally, it is important to recognize that if CSS is entitled to refuse to accept same-sex

prospective foster parents based on its religious beliefs about marriage, then CSS and other faith-

based agencies will be able to turn away prospective families who fail to conform to any other

religious beliefs they hold. Some denominations do not view marriages between people of

different faiths to be valid unions. Others don’t recognize second marriages after divorce. A

religiously affiliated agency might object to foster parents (single or married) who work on the

Sabbath (as defined by that agency), or who eat pork, or who allow their children to attend public

school or receive medical treatment if sick or injured. Requiring the City to allow each foster

care agency to implement its own religious criteria for foster families could result in a patchwork

of such exclusions, creating even more barriers to increasing the pool of qualified foster homes.

       Because the public has a strong interest in children in the foster care system having the

best possible options for foster placement, as well as in non-discrimination, the balance of

equities and the public interest require denial of Plaintiffs’ requested injunction.



 Dated: June 18, 2018                               /s/ Catherine V. Wigglesworth
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